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  Jeffrey L. Moyer
  302-651-7525
  Moyer@rlf.com


  December 11, 2024

  VIA CM/ECF
  The Honorable William C. Bryson
  Howard T. Markey National Courts Building
  717 Madison Place, N.W.
  Washington, DC 20439-0000

         RE:     Ryanair DAC v. Booking Holdings Inc. et al., C.A. No. 20-1191-WCB (D. Del.)

  Dear Judge Bryson,

  Booking.com respectfully requests that the Court strike portions of Ryanair’s December 11, 2024
  letter brief and accompanying materials as non-responsive and improperly beyond the scope of the
  Court’s limited request for supplemental briefing. Specifically, the Court should strike paragraphs
  6 through 9, including footnote 1, of the letter brief (from “Mr. Hurley’s test booking testimony
  should not impact . . .” through the end of the letter) (D.I. 506), and the Declaration of Ji Mao and
  its accompanying exhibit (D.I. 508 & Appx. A).

  The Court’s order of 2-page supplemental briefing during the December 6, 2024 hearing did not
  authorize the portions of Ryanair’s filing that Booking.com moves to strike, which do not pertain
  to the discrepancy between Mr. Hurley’s and Mr. Guerrero’s testimony and any reconciling
  thereof. See 12/6/24 Tr. at 9, 13. These portions of Ryanair’s filing instead are unauthorized
  supplemental briefing and evidence on different issues. Ryanair makes no effort to tie paragraphs
  6 through 9 (including footnote 1) to the Court’s request for briefing. And Mr. Mao’s declaration
  incorrectly suggests that his submission was authorized by the Court, when it was not. See id. at
  13:3-15 (describing subject of briefs).

  Pursuant to D. Del. L.R. 7.1.1, Booking.com immediately raised these concerns with Ryanair’s
  Delaware counsel and the Parties met and conferred on December 12, 2024. Ryanair’s counsel
  indicated that Ryanair would agree to withdraw Appendix A but would not agree to withdraw any
  other portions of its filing.

  Booking.com respectfully requests that the portions of Ryanair’s December 11 submissions,
  identified above, that do not concern the apparent conflict between the trial testimony of Mr.
  Hurley and Mr. Guerrero be struck.

                                                Respectfully submitted,

                                                /s/ Jeffrey L. Moyer

                                                Jeffrey L. Moyer (#3309)
